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                 EXHIBIT B-136
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                                                                                     FILED IN OFFICE



                  IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATE OF GEORGIA

                                                    •

In Re: Special Purpose Grand
                                                           CASE NO. 2022-EX-000024
Jury


                                                    •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned     hereby requests  permission  to use a recording device in
Courtroom SD, Judge Robert McBurney in order to !ZIrecord images and/ or
!Zlsound during all or portions of the proceedings in the above captioned
case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): !Zlcomputer of any size, including a
tablet, a notebook, and a laptop; !Zlsmart phone, a cell phone or other wireless
phone; !ZIcamera and other audio or video recording devices !ZIany similar
devices __

The proceedings  that the undersigned desires to record commence on (date and
timeh!_an. 24. 2023. Subject to direction from the court regarding possible
pooled coverage, the undersigned wishes to use this device in the courtroom on
(date and timehl_an. 24, 2023.


The personnel who will be responsible                   for the use of this recording device are:
(identify appropriate personnel or individual~nna         Bower.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


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guidelines issued by the court.

*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

Lawfare (lawfareblog.coml
(News Agency/Media Outlet/Law Firm/Individual                Representative)

submissions@lawfareblog.com
(Email Address)

7705196975
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               ~Approved


               The requesting agency:
                             be pool for its media
                       ~Shall    not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 23rd day of _J_an_u_a_ry~--------~                      2023




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                                                                J
                     Judge of Superior Court of Fulton County
                              Atlanta Judicial Circuit




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